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12                          UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
      UL LLC,                                 Case No.: 2:16-CV-08172-CAS (AFMX)
15
              Plaintiff,                      Hon. Christina A. Snyder
16
17    v.                                          MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT OF
18    The Space Chariot Inc., a California        PLAINTIFF UL’S MOTION FOR
      corporation; Kevin Walker, an individual; PARTIAL SUMMARY JUDGMENT
19
      Donabelle Escarez Mortel, aka Donabella AGAINST THE SPACE CHARIOT
20    Mortel , an individual; and John Does 1-10, INC., KEVIN WALKER AND
      individuals,                                DONABELLE ESCAREZ MORTEL
21
                                                  REGARDING COUNT 1 (FEDERAL
22          Defendants.
                                                  TRADEMARK INFRINGEMENT) AND
23                                                COUNT 2 (COUNTERFEIT OF
                                                  REGISTERED MARK)
24
25
26
27
28

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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2                                   I.    INTRODUCTION
 3           Defendants The Space Chariot, Inc., Kevin Walker and Donabelle Escarez Mortel
 4 a/k/a Donabella Mortel (collectively, “Defendants” or “Space Chariot”) used counterfeit
 5 UL Certification Marks on their websites to falsely advertise their self-balancing scooters
 6 (“hoverboards”) as being certified by UL. In spite of Defendants’ attempts to stall this
 7 litigation and obstruct discovery, UL has now collected overwhelming evidence of
 8 Defendant’s willful counterfeiting. Accordingly, UL moves for partial summary
 9 judgment on the questions of liability and willfulness with respect to Count 1 (federal
10 trademark infringement) and Count 2 (federal trademark counterfeiting), and asks the
11 Court to award statutory damages in the amount of $2 million.
12           There are no questions of material fact as to whether Defendants used counterfeit
13 UL marks to trick consumers into believing that Defendants’ hoverboards were UL-
14 certified. Defendants were in full control of the <spacechariot.com> domain and website,
15 and the Space Chariot social media accounts, which falsely claimed that Space Chariot’s
16 hoverboards were UL-certified. Defendants even claimed their products were UL-
17 certified before a certification for hoverboards even existed. When UL-certified
18 hoverboards did become available, Defendants deliberately chose to sell non-UL-
19 certified hoverboards (while still advertising their inventory as UL-certified). Because
20 there is no dispute that Defendants sold non-UL-certified hoverboards while advertising
21 their products as UL-certified, Defendants’ liability is beyond question.
22           There are also no questions of material fact that Defendants’ counterfeiting was
23 willful. It is undisputed that Defendants never sought UL’s permission to use the UL
24 marks. That alone should be sufficient evidence of willfulness, as Defendants never had
25 any reasonable basis for believing that they were authorized to use the UL marks. But the
26 Court need not rely on this undisputed fact alone; there are text messages and emails
27 showing that Defendants’ supplier explicitly, and repeatedly, told Defendants that its
28

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 1 hoverboards were not UL-certified – and yet Defendants continued to advertise the
 2 hoverboards as UL-certified. At one point, Defendants’ supplier offered UL-certified
 3 hoverboards to Defendants, and Defendants explicitly rejected those hoverboards in
 4 favor of non-certified ones. This undisputed evidence proves Defendants’ malicious
 5 intent. Still further proof of Defendants’ malicious intent can be found in Defendants’
 6 obstructive approach to discovery.
 7           Once liability and willfulness are proven, UL asks the Court to address the
 8 question of statutory damages. The Lanham Act authorizes the Court to award anywhere
 9 between $3,000 and $6,000,000 in statutory damages. In view of Defendants’ extensive
10 sales, Defendants’ malicious intent and Defendants’ obstructionist discovery behavior,
11 UL believes an award of 2 million dollars is appropriate.
12                                   II.   BACKGROUND1
13           A.       UL’s Trademarks and The UL® Brand
14           UL is a global independent safety science company offering certification,
15 validation, testing, inspection, and advising services for a variety of industries around the
16 globe. (Declaration of Robert Pollock, Dkt. No. 6, at ¶ 6.) UL has been testing products
17 and authorizing use of their famous UL Certification Marks on products that conform to
18 UL’s Standards for Safety since at least 1937. (Id. at ¶ 9.)       Manufacturers seek UL
19 certification and listing in the UL certification directory by submitting representative
20 product samples to UL for evaluation and/or testing. (SUF 7.) UL examines these
21 samples and determines whether the samples comply with the applicable standard. (Id.)
22           The UL Certification Marks are renowned as symbols of UL’s testing, inspection
23 and certification services originating with UL. (SUF 2.) The UL certification marks are
24 central to UL’s brand and business. (See Declaration of Pollock, Dkt. No. 6, at ¶ 13.) UL
25
         1
         The material facts relevant to this motion are undisputed and are followed by a
26
   citation to the concurrently filed Separate Statement of Uncontroverted Facts and
27 Conclusions of Law (“SUF”), which includes citations to supporting evidence.
   Additional included facts provide context, but they are not necessary to decide this
28
   motion.
                                       2
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 1 has sought to protect its UL-in-a-circle certification mark and UL service mark with the
 2 United States Patent and Trademark Office. Specifically, federal registrations have been
 3 obtained for the following marks:
 4                        (U.S. Reg. No. 782,589);
 5
 6                        (U.S. Reg. No. 2,391,140); and
 7                 UL service mark (U.S. Reg. No. 4,201,014)
 8 (collectively, the “UL Marks”). (SUF 3.) The first two trademarks listed above have
 9 reached incontestable status pursuant to 15 U.S.C. § 1115(b). (SUF 4.)
10           UL has the exclusive right to use the UL Marks and authorize customers to use of
11 the UL Marks. (SUF 6.) UL has used the UL Marks extensively to promote its testing and
12 certification services through a wide variety of marketing channels. (Pollock Decl., Dkt.
13 No. 6, at ¶ 11.) Thus, the UL Marks have attained a national and global reputation for
14 technical experience and integrity and have become a symbol of trust and objectivity.
15 (Declaration of Pollock., Dkt. No. 6, at ¶ 12.)
16           B.       The Defendants
17           The Space Chariot, Inc. (“Space Chariot”) is a California Corporation formed by
                                                            2
18 Defendant Kevin Walker in July, 2015. (SUF 10-11.) Space Chariot sold self-balancing
                                                                3
19 scooters commonly known as “hoverboards.” (SUF 10.)
20           Kevin Walker (“Walker”) and his girlfriend, Donabelle Mortel (“Mortel”), own
21 and operate Space Chariot. (SUF 11-12.) Walker holds himself out as the CEO and
22 President (SUF 11), while Mortel holds herself out as the Vice President. (SUF 12; Ex.
23
         2
24      At his deposition, Mr. Walker denied that the signature on The Space Chariot, Inc.’s
   Articles of Incorporation was his signature, but did not dispute that the corporation is his.
25 (Declaration of Cameron Nelson (at Walker Dep., Ex. 15, 40:7-45:17).)
26       3
         It appears that Defendants sold off Space Chariot’s assets, in violation of the
27 stipulated preliminary injunction and asset freeze, in December 2016. It is unclear
   whether Defendants continued selling hoverboards through other domain names. See
28 Section 2.D, infra.

                                       3
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          4
 1 14.) Space Chariot had employees from time to time, but these employees were merely
 2 “kids” working at the direction and control of Walker and Mortel. (Declaration of
                                                                             5
 3 Cameron Nelson (“Nelson Decl.”) (at Walker Dep., Ex. 15, 56:12-57:3) .)
 4            Walker and Mortel lease a single office at 5250 North Lankershim Blvd, Suite 500,
 5 North Hollywood, California 91601. (Id. (Walker Dep., Ex. 15, 16:6-21:4, 57:22-63:4,
 6 67:10-68:4, 69:25-71:6).) The office has a door, desk, and computer, and only Walker,
 7 Mortel, and a single employee have a key. (Id.) Defendants run Space Chariot and at least
 8 two other businesses, “The Creation Station” and “Creative Geniuses” out of that office.
                                                                     6
 9 (SUF 13; Ex. 16; Ex. 15, 18:7-20:9, 30:5-32:18, 34:11-35:16.) Walker and Mortel have
10 not created separate corporations for these businesses; the only actual California
11 corporation they own or operate is The Space Chariot, Inc. (See SUF 14; Walker Dep.,
12 Ex. 15, 34:14-16.) Defendants keep cash from these businesses in a drawer in the office,
13 and at least Defendant Walker uses cash to pay himself his “Space Chariot”
14 compensation, as well as to purchase inventory. (Walker Dep., Ex. 15, 70:6-18, 99:5-
15 101:1).)
16       4
           The Lanham Act applies personal liability for counterfeiting. The Lanham Act
17   imposes liability upon, “Any person who, on or in connection with any goods or services
     … uses in commerce … any false designation or origin, false or misleading description
18
     of fact, or false or misleading misrepresentation of fact, which is likely to cause
19   confusion or to cause mistake, or to deceive as to the affiliation, connection, or
     association of such person with another person, or as to the origin, sponsorship, or
20
     approval of his or her goods ... by another person.” 15 U.S.C. § 1125(a)(1)(A) (emphasis
21   added). Under the Lanham Act, a corporate officer or director may be held personally
22
     liable for trademark infringement and unfair competition. TI Bev. Group Ltd v. S.C.
     Cramele Recas SA, No. LA CV 06-07793-VBF, 2014 U.S. Dist. LEXIS 188074, at *21-
23   22 (C.D. Cal. Oct. 10, 2014) (citing Cartier v. Aaron Faber, Inc., 512 F. Supp. 2d 165
24
     (S.D.N.Y. 2007)).
         5
        Exhibit 15 – and the other Exhibits cited herein are attached to the Declaration of
25
     Cameron Nelson, filed concurrently herein.
26       6
        At his deposition, Walker denied being associated with or receiving income from
27 any businesses other than the Creation Station and Space Chariot, but the Facebook page
   at Exhibit 16, and the LinkedIn page attached to Mr. Olive’s declaration, clearly show
28
   Mr. Walker is also running Creative Geniuses.
                                        4
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 1           Walker and Mortel both have a significant presence on social media, and both
 2 personally promoted Space Chariot hoverboards via their personal social media accounts,
 3 by retweeting, liking, and/or otherwise promoting Space Chariot. (SUF 15; Ex. 14;
 4 Walker Dep., Ex. 15, 55:17-57:3, 75:12-76:24.)
 5           C.       Defendants’ Counterfeiting of the UL Marks
 6           Shortly before the 2015 holiday season, incidents of hoverboards catching fire
 7 received significant of media attention. Unscrupulous hoverboard sellers, including
 8 Defendants, quickly responded to this negative media coverage by falsely claiming their
 9 hoverboards were UL-certified. Indeed, as shown, Defendants extensively advertised
10 their hoverboards as UL-certified even though they knew full well that their products had
11 never received any certification or approval from UL.
12           For instance, Defendants began claiming their hoverboards were UL “safety
13 certified” at least as early as December 10, 2015. (SUF 16-18; Ex. 17.) At that time, a
14 safety standard for hoverboards did not even exist, and UL had not certified anyone’s
15 hoverboards. (SUF 19-20.) Defendants never made any attempt to contact UL, and never
16 asked UL for authorization to use the UL mark in their advertising. (SUF 23, 41.)
17           Defendants also repeatedly received explicit notice that their hoverboards were not
18 UL-certified, at least nine times.
19           First, UL’s announcement of its 2272 standard put Defendants on notice. The
20 announcement explicitly invited retailers and manufacturers to submit hoverboards for
21 product testing for the first time. (SUF 21; Ex. 18.) Defendants were aware of this
22 announcement. (SUF 22; Walker Dep., Ex. 15, 53:8-53:20.) Defendants never contacted
23 UL or submitted their products for testing (SUF 23; Walker Dep., Ex. 15,
24 50:15-52:4, 53:8-53:20), but continued to advertise their hoverboards as UL-certified on
25 their website and on social media. (SUF 25; Ex. 19.)
26           Second, UL’s April 26, 2016 cease and desist letter explicitly put Defendants on
27 notice that they were not authorized to advertise their hoverboards as UL-certified. (SUF
28 26.) Yet, Defendants kept advertising their products as UL-certified. (SUF 25; Ex. 19.)

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 1           Third, immediately after Defendants received the April 26th letter, Defendants’
 2 supplier, JOMO Technology Ltd (“JOMO Tech”), explicitly told Defendants that it was
 3 still applying for UL 2272 Certification. (SUF 28; Ex. 22.) Yet, Defendants kept
 4 advertising their products as UL-certified. (SUF 25; Ex. 19.)
 5           Fourth, the U.S. Consumer Product Safety Commission (“CPSC”) informed
 6 Defendants on May 17, 2016 that it was investigating whether Defendants’ hoverboards
 7 comply with the UL 2272 standard. (SUF 29; Ex. 23.) Yet, Defendants kept advertising
 8 their products as UL-certified. (SUF 25; Ex. 19.)
 9           Fifth, on the same day that the CPSC put Defendants on notice of its investigation,
10 JOMO Tech told Defendants that the hoverboards were still with UL for testing. (SUF
11 30; Ex. 24.) Yet, Defendants kept advertising their products as UL-certified. (SUF 25;
12 Ex. 19.)
13           Sixth, UL called Defendants on May 18, 2016. UL explained that Space Chariot is
14 not a customer of UL, that UL had not conducted any tests on Space Chariot’s
15 hoverboards, and that the hoverboards were therefore not “safety certified” by UL. UL
16 further explained that Defendants were not authorized to use UL’s certification mark or
17 claim that Space Chariot hoverboards were certified by UL. (SUF 31.) Yet, Defendants
18 kept advertising their products as UL-certified. (SUF 25; Ex. 19.)
19           Seventh, JOMO Tech told Defendants “Good news, we are almost to pass
20 UL2272” on June 2, 2016. (SUF 32; Ex. 27.) Not only did Defendants continue to
21 advertise their products as UL-certified, Defendants created a new “blog” article on their
22 website on June 6, 2016 claiming that “Space Chariot, Inc. Hoverboards are UL 2722
23 Certified.” (SUF 33; Ex. 20.)
24           Eighth, when Defendants’ supplier finally received UL certification on some of its
25 hoverboards, Defendants rejected those products as too expensive, and continued to
26 purchase non-certified hoverboards, while still advertising their products as UL-certified.
27 JOMO Tech did not send their first shipment of UL 2272-certified hoverboards from
28 China until July 20, 2016. (SUF 34; Ex. 26.) JOMO Tech told Defendants on August 4,

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 1 2016 that “the product with UL 2272” arrived at their warehouse in Walnut, California
 2 and encouraged Kevin Walker to go pick up the UL 2272-certified product. (SUF 36; Ex.
 3 27.) By coincidence, that same day, a UL investigator ordered a Space Chariot
 4 hoverboard. Space Chariot delivered a non UL 2272-certified hoverboard on August 8,
 5 2016. (SUF 37.) At the end of August, Defendants even complained that JOMO Tech
 6 was charging for UL 2272-certified hoverboards when Defendants had been buying non-
 7 UL-certified hoverboards. (SUF 38; Ex. 28.)
 8            Ninth, despite explicitly choosing to buy non-certified hoverboards instead of
 9 certified hoverboards, Defendants issued a press release on September 22, 2016, picked
10 up by FOX 5 KVVU-TV, stating that Defendants are “The Safest Hoverboard Company
11 Around,” and that all their hoverboards are UL 2272-certified. (SUF 39; Ex. 21.)
12 Defendants continued to advertise their hoverboards as UL-certified in October, while
13 evidence obtained from Defendants confirms they were still purchasing non-certified
14 hoverboards. (SUF 25; Ex. 19.)
15            D.       Defendants Flouted Court Orders and Obstructed Discovery
16            Throughout discovery, Defendants concealed and withheld information regarding
17 their sales of hoverboards, their profits from the sale of hoverboards, and the content of
18 their website. While withholding this information, Defendants violated the Court’s
19 Orders by starting new websites that Defendants used to continue their infringing
20 activities, withholding documents they had agreed to produce, and selling off assets.
21            For instance, Defendants circumvented the Court’s November 17, 2016 Temporary
22 Restraining Order (“TRO”, Dkt. No. 25) by creating new domain names and moving
23 their operations to those domain names. Specifically, the Court issued a TRO prohibiting
24 Space Chariot from selling or advertising hoverboards that were not certified by UL.
25 (SUF 42; Ex. 33.) As part of this Order, the Court directed that the domain name
                                                            st
26 <spacechariot.com> be disabled. But, by December 1 , 2016, UL had identified three
27 new “Space Chariot” domains - <truehoverboard.com>, <perfecthoverboard.com>, and
28 <spacechariotca.com>. (SUF 43-49; Ex. 40.) The websites found at these domain names

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 1 all were substantially similar, if not identical, to the original Space Chariot website. (SUF
 2 43-48; Exs. 34-39.) In most instances, they listed the same addresses, phone numbers,
 3 and products as the original Space Chariot website, and included the UL Marks. (Id.)
 4            When UL confronted Defendants regarding these new domain names, Defendants’
 5 counsel stated “the other sites referred to in your letter do not belong to my clients.”
 6 (SUF 50; Ex. 41.) Later, Defendants stipulated to an Order directing that they shall
 7 “identify           all persons affiliated with the domain names truehoverboard.com,
 8 perfecthoverboards.com, and spacechariotca.com” by December 15, 2016. (SUF 51; Ex.
 9 45.)       Pursuant to that stipulated Order, Defendants’ provided the following
10 “identification”:
11            www.spacechariotca.com - my client was unaware of the existance [sic] of
12                      this site and has no contact info for it.
13            http://www.perfecthoverboards.com/ - Richard –
14                      info@perfecthoverboards.com
15            www.TrueHoverboard.com - Name Unknown –
16                      Truehoverboard@gmail.com
17 (SUF 51; Ex. 42.) When UL pressed for more information, Defendants’ counsel
18 represented that Defendants “have produced all info in [their] possession” regarding the
19 “unrelated” sites. (SUF 52; Ex. 43.)
20            Because of Defendants’ transparently-false denials, UL expended significant effort
21 and legal fees issuing and following up on third-party subpoenas. As a result, UL now
22 has affirmative evidence that Defendants were lying, at the very least with respect to the
23 <truehoverboard.com>                domain.7      Specifically,   Defendants   did   own   the
24
          7
25
          UL strongly suspects the Defendants were also lying about the
   <perfecthoverboards.com> and <spacechariotca.com> domain names, but the third-party
26 hosting those domains, Shopify, is a Canadian corporation and the cost of pursuing
27 discovery via the Hague Convention seems to outweigh any benefit. It is worth noting
   that Shopify was Defendants’ shopping-cart service provider, and if Defendants secured
28 additional domains, it would have been a natural choice to use Shopify as a host.

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 1 <truehoverboard.com> domain, and sold it, along with other assets, to one Aaron Wesel
 2 (“Wesel”) in an agreement dated December 15, 2016. (SUF 53; Ex. 12; Ex. 13;
 3 Declaration of Aaron Wesel.) Thus, while Defendants were telling UL that
 4 <truehoverboard.com> did not belong to them, Defendants were entering into a written
 5 contract regarding their sale of that domain name to Wesel, (Id.), which, of course, was
 6 also in violation of the Court’s November 17 TRO.
 7            In fact, Defendants sold domain names, Facebook accounts, Instagram accounts,
 8 and supplier contact information, among other assets, to Wesel for $27,500. (Id.) UL
 9 does not know what Defendants did with these funds, because they have not complied
10 with the stipulated preliminary injunction order. (See, e.g., SUF 54; see also Stipulated
11 Preliminary Injunction Order at Dkt. No. 33 (attached to the Nelson Declaration as Ex.
12 45).) That Order required Defendants to “produce all bank statements in their possession,
13 custody and control from July 1, 2015 to present” by December 15, 2016. (Id.) To date,
14 Defendants have only produced two bank statements from a single account – neither of
15 them current. (SUF 54.)
16            Defendants also took other affirmative steps to stall discovery. Walker testified
17 that       he       only   had   access   to   the   email   addresses   info@spacechariot.com,
18 kevin@spacechariot.com, and thekevinlwalker@gmail.com. (Declaration of Cameron
19 Nelson (at Walker Dep., Ex. 15, 21:5-22).) Based on this testimony, UL negotiated an e-
20 discovery protocol for searching these email accounts with Defendants’ counsel. (Id., ¶
21 41.) That email search did not uncover any information regarding Defendants’ sale of the
22 business – because Defendants had created another email address for evading discovery.
23 Indeed, documents produced by third party Aaron Wesel, under subpoena, reveal that
24 Defendants used the email address info@theecreativegeniuses.com to correspond with
25 Wesel. (SUF 55; Ex. 47.)WHOIS records show that the domain theecreativegeniuses.com
26 is      registered to Walker and that Mortel personally registered the domain
27 creativegeniusess.com on December 9,2016. (SUF 55; Ex. 44.)
28

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 1            To provide just one other example of Defendants’ obstruction of discovery, the
 2 stipulated preliminary injunction provided that “Defendants shall immediately provide
 3 their counsel with means to electronically access the dashboard and administration
 4 functions of Defendants’ website hosted at SpaceChariot.com, and Defendants’ counsel
 5 shall produce relevant documents from the website as soon as reasonably possible.” (Ex.
 6 45.) Defendants have never produced any such documents. Instead, Defendants produced
 7 a single-page printout of one insignificant portion of their website. (Ex. 8.)
 8 Simultaneously, Defendants are denying that screenshots provided by UL at the outset of
 9 this case, and which confirm Defendants’ use of the UL marks, are their website. (Walker
10 Dep., Ex. 15, 140:22-145:22; Ex. 8).) But the historical content of Defendants’ website
11 can be easily verified at the “Wayback Machine” located at www.archive.org, which
12 confirms that Defendants were indeed using the UL marks throughout 2016. (SUF 25.)
13                                        III.   ARGUMENT
14            There are only three legal issues for the Court to resolve: (a) whether Defendants
15 placed false UL Certification Marks on their website; (b) whether Defendant’s act of
16 placing false UL Certification Marks on their website was willful; and (c) the amount of
17 UL’s statutory damages under 15 U.S.C. §1117 (c).
18            A.       Defendants Are Liable for Trademark Counterfeiting and Statutory
19                     Damages Under 15 U.S.C §1117(c).
20            UL must establish (1) ownership of a valid, legally protectable mark; and
21 (2) Defendant’s use of the mark is likely to cause consumer confusion. Brookfield
22 Communs., Inc. v. West Coast Entertainment Corp., 174 F.3d 1036, 1046 (9th Cir. 1999).
23 Counterfeiting is merely a special case of trademark infringement; “[a] ‘counterfeit’ is a
24 spurious mark which is identical with, or substantially indistinguishable from, a
25 registered mark.” 15 U.S.C. § 1127.
26                     1) UL Owns Legally Protectable Marks.
27            UL’s federal trademark registrations with the U.S. Patent and Trademark Office
28 are prima facie evidence of the validity of the UL’s marks, and of UL’s exclusive right to

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 1 use the marks. See 15 U.S.C. § 1057(b); Applied Info. Scis. Corp. v. eBAY, Inc., 511 F.3d
 2 966, 970 (9th Cir. 2007). UL has provided proof of its trademark registrations, along with
 3 evidence of its extensive and continuous use of the marks in commerce. (SUF 1-6.)
 4 Indeed, two (2) marks have reached “incontestable” status. (SUF 4.) Thus, there is no
 5 genuine issue of material fact regarding the protectability and validity of the UL’s marks.
 6                     2) Defendants Counterfeited UL’s Marks.
 7            There is no genuine dispute as to any material fact regarding Defendants’
 8 counterfeiting – Defendant’s website advertised Defendants’ hoverboards as UL-
 9 certified, and Defendants’ hoverboards were not UL-certified.
10            UL has provided the Court with several screenshots at different points in time,
11 from Defendants’ own website as well as Defendants’ social media accounts, all showing
12 Defendants’ persistent claims that their products were UL-certified. (See SUF 16, 17, 25,
13 35; Ex. 17.) Defendants’ only recourse to date has been to deny that these screenshots are
14 accurate. But merely denying a fact does not create a genuine dispute of material fact.
15 Lujan v. Nat’l Wildlife Federation, 497 U.S. 871, 888 (1990). Tellingly, Defendants have
16 refused to produce any actual documents showing the purported content of their website.
17 (Nelson Decl., ¶ 38.) Further, one can easily confirm the historical content of
18 Defendants’ website by entering it into the Wayback Machine at www.archive.org. (See
19 SUF 25; Ex. 19.)
20            Nor is there a genuine dispute of material fact that Defendants are not, and have
21 never been, customers of UL. (SUF 41; Walker Dep., Exhibit 13, 50:15-52:4, 53:8-20.)
22 UL has never authorized Defendants to use the UL marks in any way. (Id.) Yet
23 Defendants advertised their hoverboards as UL-certified at least as early as December
24 2015 – more than a month before UL announced the UL 2272 safety standard and nearly
25 six months before UL had issued any certification for any hoverboard. (SUF 16, 19-21;
26 Ex. 17.) Defendants continued to do so throughout 2016. (SUF 25; Exs. 19-21, 34-40.)
27            While Defendants’ supplier eventually developed a product that was UL-certified,
28 those UL-certified hoverboards did not enter the United States until August 2016—nine

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 1 months after Defendants began advertising their hoverboards as UL-certified. (See SUF
 2 16, 36; Ex. 27.) Tellingly, when those UL-certified hoverboard finally arrived at the U.S.
 3 warehouse of Defendants’ supplier, Defendants rejected those hoverboards in favor of
 4 cheaper, non-certified hoverboards – all while still advertising their products as UL-
 5 certified. (SUF 38-40; Exs. 28-29.) The fact that Defendants’ supplier eventually
 6 obtained certification for certain hoverboard models has no bearing on Defendant’s
 7 liability for three reasons: first, Defendants have not produced a single invoice, purchase
 8 order, receipt or email showing they ever actually purchased a UL-certified hoverboard;
 9 second, Defendants’ own text messages and emails clearly show Defendants rejecting
10 UL-certified hoverboards in favor of cheaper, non-certified hoverboards; and third, the
11 earliest date Defendants could have purchased a UL-certified hoverboard was August,
12 2016, which was at least nine months after Defendants began advertising their products
13 as UL-certified.
14                     3) Defendants’ Counterfeiting Created a Likelihood of Confusion.
15            The likelihood of confusion analysis tests whether the similarity of the marks is
16 likely to confuse customers as to source or sponsorship of the products. Brookfield, 174
17 F.3d 1036, 1053 (9th Cir. 1999). Likelihood of confusion is determined using an eight-
18 factor test: (1) strength of plaintiff’s mark; (2) relatedness to the goods; (3) similarity of
19 the marks; (4) evidence of actual confusion; (5) marketing channels used; (6) degree of
20 purchaser care; (7) defendant’s intent in selecting the mark; and (8) likelihood of
21 expansion of product lines. AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir.
22 1979); SATA GmbH & Co. KG v. Wenzhou New Century Int’l, 2015 U.S. Dist. LEXIS
23 147637 (C.D. Cal. Oct. 19, 2015). These factors are intended as “an adaptable proxy for
24 consumer confusion” rather than a rote checklist. Network Automation, Inc. v. Advanced
25 Sys. Concepts, Inc., 638 F.3d 1137, 1145 (9th Cir. 2011).
26            Everyday trademark infringement becomes counterfeiting when the trademark
27 used by the alleged counterfeiter is “identical with, or substantially indistinguishable
28 from, a registered mark.” 15 U.S.C. § 1127. “Counterfeiting is ‘hard core’ or ‘first

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 1 degree’ trademark infringement and is the most egregious form of ‘passing off.’” 4 J.
 2 Thomas McCarthy, McCarthy on Trademarks §25.10, at 25-17 (2002). Thus, analysis of
 3 the likelihood of confusion factors may well be overkill for a counterfeiting case.
 4 Nevertheless, the likelihood of confusion factors all weigh heavily in UL’s favor:
 5            Factor (1) Strength of Plaintiff’s Mark: UL serves all members of the public,
 6 consumers,          manufacturers, suppliers, retailers, vendors, trade groups, industry
 7 associations, regulatory bodies, and governmental bodies. UL’s marks appear on billions
 8 of household and consumer products, and UL has been around for over 100 years. (See
 9 SUF 2; see also Pollock Decl., Dkt. No. 6, at ¶ 10.) UL’s marks have strong commercial
10 recognition, and it would not be unreasonable to say that UL’s marks are among the
11 strongest in the world.
12            Factor (2) Relatedness to the Goods: Defendants used counterfeit UL marks on the
13 kind of goods (electrical devices) that UL regularly certifies. Indeed, Defendants’
14 counterfeiting arose in response to widespread concern regarding hoverboards, for the
15 very purpose of alleviating consumer concerns. (See SUF 16-18.)
16            Factor (3) Similarity of Marks: The marks are identical. (See SUF 3, 16-17, 25.)
17            Factor (4) Evidence of Actual Confusion: Actual confusion is inevitable.
18 Defendants are using counterfeits of UL’s marks for the express purpose of misleading
19 consumers into believing that Defendant’s products are certified by UL, in direct
20 response to widespread concern regarding hoverboard safety. (See SUF 16-18, 25.)
21            Factor (5) Marketing Channels Used: Defendants are marketing their hoverboards
22 in the exact same channels to the exact same consumers that sellers of genuinely-certified
23 hoverboards use. (See SUF 16-17, 25.)
24            Factor (6) Degree of Purchaser Care: Because the UL mark is so widespread,
25 consumers are unlikely to inquire further when it is heavily advertised the way
26 Defendants advertised it. (See SUF 2.)
27
28

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 1            Factor (7) Defendant’s Intent in Selecting the Mark: Defendants’ intent in selecting
 2 the marks is obvious – they wished to deceive consumers into believing their products
 3 were safe. (See SUF 16-17, 25.)
 4            Factor (8) Likelihood of Expansion of Product Lines: This factor is not particularly
 5 relevant to this case and does not favor either UL or Defendants.
 6                     4) 15 U.S.C. § 1117 (c) Imposes Liability Regardless of Willfulness.
 7            In 1996 Congress passed the Anticounterfeiting Consumer Protection Act to
 8 combat the growing problems posed by counterfeit goods, which added provisions for
 9 giving trademark owners to recover statutory damages in cases involving the use of
10 counterfeit marks. In particular, 15 U.S.C. § 1117 (c) provides:
11
                 (c) In a case involving the use of a counterfeit mark (as defined in
12
                 section 1116(d) of this title) in connection with the sale, offering for
13               sale, or distribution of goods or services, the plaintiff may elect, at any
                 time before final judgment is rendered by the trial court, to recover,
14
                 instead of actual damages and profits under subsection (a) of this
15               section, an award of statutory damages for any such use in connection
                 with the sale, offering for sale, or distribution of goods or services in
16
                 the amount of –
17
18
                 (1) not less than $1000 or more than $200,000 per counterfeit mark per
                 type of goods or services sold, offered for sale, or distributed, as the
19               court considers just; or
20
                 (2) if the court finds that the use of the counterfeit mark was willful,
21               not more than $2,000,000 per counterfeit mark per type of goods or
22               services sold, offered for sale, or distributed, as the court considers just.

23
              Importantly, liability for statutory damages under 15 U.S.C. § 1117 (c) does not
24
      depend on whether there is a showing of intentional counterfeiting. Statutory damages
25
      are required for even “innocent” counterfeiting, which gives merchants an incentive to
26
      ensure the goods they offer for sale are genuine. See Lorillard Tobacco Co. v. S&M
27
      Central Service Corp., 2004 WL 2534378 (N.D. Ill. Nov. 8, 2004) (noting statutory
28

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 1 damages added “due to the concern that a counterfeiter might hide, alter or destroy
 2 records, this making it impossible for a plaintiff to determine…actual damages”).
 3 Knowledge and intent are still relevant, however, since statutory damages are allowed
 4 only up to $200,000 per mark per type of good for innocent counterfeiting, whereas for
 5 willful counterfeiting the statutory damages can be ten times that much, up to $2,000,000
 6 per mark per type of good. Additionally, if use of a counterfeit mark is found to be
 7 willful, an award of attorneys’ fees is mandatory (15 U.S.C. § 1117(b)).
 8            In this case, as discussed, the counterfeit UL Certification Mark on Defendant’s
 9 website bears counterfeit imitations of the following three registered UL trademarks:
10
11        •            ® (Reg. No. 782,589);
12
13        •            ® (Reg. No. 2,391,140); and
14        •    UL Service Mark (Reg. No. 4,201,014).
15            Accordingly, UL is entitled to statutory damages of between $3,000 and $600,000
16 if the Defendants’ conduct is deemed merely non-willful. However, if the Court finds the
17 Defendants were willful – and UL believes it should – UL is entitled to recover up to
18 $6,000,000 ($2,000,000 per counterfeited trademark).
19            B.       The Undisputed Facts Show that Defendants Were Willful.
20            The evidence of Defendants’ willfulness is overwhelming. As shown, Defendants
21 were put “on notice” that their hoverboards were not certified by UL on several
22 occasions, but kept advertising them as UL-certified anyway. (E.g., SUF 16-39.)
23 Defendants’ own text messages reveal that Defendants deliberately chose to sell non-
24 certified hoverboards even after certified hoverboards became available. (SUF 34-38,
25 40.) Defendants also obstructed discovery and evaded the Court’s orders so they could
26 continue capitalizing on their counterfeiting after this lawsuit was filed. (SUF 42-55.)
27            First, Defendants always knew that they did not have permission to use the UL
28 marks because they never asked UL for permission to use the UL marks. (See SUF 41.)

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 1 This alone is evidence of willfulness; one cannot use another’s trademarks without
 2 permission. AARP v. Sycle, 991 F.Supp.2d 224, 229-30 (D.D.C. 2013).
 3            Second, UL’s press release regarding UL 2272 certification put Defendants on
 4 notice that their hoverboards were not UL-certified. Defendants admit they heard of the
 5 UL 2272 Standard when the safety standard was first released by UL in February 2016.
 6 (SUF 22; Walker Dep., Ex. 15, 50:15-52:4, 53:8-20.) The press release makes clear that
 7 no hoverboard certification existed prior to that date. (SF 21; Ex. 16.)
 8            Third, UL’s April 26, 2016 cease and desist letter again put Defendants on notice
 9 that their hoverboards were not UL-certified, and that they were not authorized to use the
10 UL Marks. (SUF 26.) Defendants cannot deny receiving this letter, since they
11 immediately contacted their supplier, who confirmed that it had merely applied for UL
12 certification. (SUF 27-28; Ex. 22.)
13            Fourth, the CPSC put Defendants on notice that UL certification was an important
14 factor in determining whether a product is safe for sale. (SUF 29; Ex. 23.) Defendants
15 already knew their product was not certified by UL, but checked in with their supplier
16 who again confirmed that it was merely in the process of applying for UL 2272
17 certification. (SUF 30; Ex. 24.)
18            Fifth, UL’s May 18, 2016, phone call again put Defendants on notice that their
19 hoverboards were not UL-certified. (SUF 31.)
20            Sixth, Defendants posted a news article on June 6, 2016, representing to consumers
21 that “Space Chariot Hoverboards are UL 2272 Certified,” despite the letters and phone
22 call from UL, and despite the supplier’s confirmation that it had not obtained UL 2272
23 certification. (SUF 33; Ex. 20.)
24            Seventh, when Defendants eventually had an opportunity to purchase UL-certified
25 hoverboards, they purchased non-certified hoverboards instead. On August 8, 2016,
26 Defendants delivered a non UL-certified hoverboard to a UL investigator, even though
27 their supplier had UL-certified hoverboards in stock. (SUF 36-37.) On August 27, 2016,
28 Walker complained to his supplier: “You can’t keep charging me so much for non UL

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 1 2272.” (SUF 38; Ex. 28.) Defendants’ text messages even confirm that they were still
 2 buying non-certified hoverboard on October 18, 2016, just two weeks before this lawsuit
 3 was filed: “My price for non UL is $150. I just bought 2 non UL.” (SUF 40; Ex. 29.)
 4 Defendants have not produced a single text message, email, invoice, or other document
 5 showing that Defendants purchased a UL-certified hoverboard.
 6            Eighth, despite explicitly choosing to buy non-certified hoverboards, Defendants
 7 issued a press release on September 22, 2016, picked up by FOX 5 KVVU-TV, stating
 8 that Defendants are “The Safest Hoverboard Company Around,” and that all their
 9 hoverboards are UL 2272-certified. Defendants continued to advertise their hoverboards
10 as UL-certified in October, while evidence obtained from Defendants confirms they were
11 still purchasing non-UL-certified hoverboards. (SUF 39; Ex. 21.)
12            In sum, based on Defendants’ own documents and admissions, Defendants
13 willfully and maliciously used counterfeits of the UL marks to promote their goods as
14 being safe, despite being put on explicit notice, on several occasions, that UL had not
15 certified the hoverboards that Defendants were selling. Leaving no room for doubt,
16 Defendants continued this willful and malicious behavior in discovery, simultaneously
17 withholding documents while providing false information so that Defendants could
18 dissipate their assets. (See SUF 42-55; see also Nelson Decl. (at Exs. 12-13, 34-44).)
19            C.       The Undisputed Facts Justify $2,000,000 in Statutory Damages.
20            Courts have broad discretion in setting the amount of a statutory damages award.
21 Chi-Boy Music v. Charlie Club, Inc., 930 F.2d 124, 1229 (7th Cir. 1991); Sara Lee Corp.
22 v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166 (S.D.N.Y. 1999). To aid in evaluating
23 the appropriate amount of statutory damages, courts have turned to copyright law, which
24 has a similar statutory damages provision, and have applied the same factors to trademark
25 statutory damages cases. Sara Lee, 36 F. Supp. 2d 161, 166. Those factors include:
26            (1) whatever dollar figures are available, such as the expenses saved and the profits
27            reaped by the infringers, the revenues lost by the plaintiff, and the value of the
28            trademarks;

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 1            (2) the defendant’s culpability and its cooperation in responding to discovery; and
 2            (3) the deterrent effect on the defendant and others.
 3 Id.
 4            Here, UL seeks $2 million in statutory damages, which is only a third of the $6
 5 million that the Court could award for willful infringement. Several factors in this case
 6 call for such a damages award, including: Defendants’ malicious counterfeiting,
 7 obstructive discovery behavior, failure to produce complete sets of documents, violation
 8 of court orders, and refusal to accept responsibility. Considering these factors alongside
 9 the estimated amount of Defendants’ profits from counterfeiting, an award of $2 million
10 is appropriate. Much of this already has been covered extensively above; below, we
11 elaborate on just some of these points.
12                     1)   Defendants Had Up To $2,000,000 in Sales.
13            The first factor for the Court to consider is whatever dollar figures are available.
14 Here, the evidence available to UL and the Court is limited, because Defendants have
15 never produced a complete accounting of sales. UL did recover one report that was
16 attached to an email from Walker, which report showed approximately $450,000 in
17 online sales from September 2015 to October 2016. (SUF 56; Ex. 31.) UL has not been
18 able to compare these sales figures against Defendants’ cash flow because Defendants
19 have not produced the necessary bank statements. (SUF 54.) Nor is there any way of
20 knowing whether this is 50%, 75%, or 90% of Defendants’ sales, since Defendants have
21 not produced documents from their other merchant service accounts, and have not
22 produced any accounting of their cash sales. (See Nelson Decl. (at Walker Dep., Ex. 15,
23 99:23-100:16 (describing cash practices)).) In at least one email to a potential vendor, a
24 Space Chariot employee stated that Space Chariot had made “millions in sales” in 2015.
25 (SUF 56.) And, Walker elsewhere claimed $2,000,000+ in sales. (Id.) Accordingly,
26 Space Chariot’s actual sales range somewhere between $450,000 and “millions.”
27            Defendants’ costs are equally uncertain. Defendants produced a spreadsheet listing
28 only invoice numbers and amounts, from October, 2015 through April, 2016, which total

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 1 around $145,000. (SUF 57; Ex. 30.) Defendants have produced only two of the invoices
 2 from this spreadsheet. (Id.) Once again, without supporting invoices, bank statements, a
 3 general ledger, and date for the full relevant date range, it is impossible to know how
 4 accurately this spreadsheet reflects Defendants’ cost of goods sold.
 5            The incomplete data provided by Defendants does provide a general ballpark of
 6 Defendants’ profits, and particularly, the data suggests that Defendants’ gross profits
 7 were at least around $300,000. Though UL is seeking statutory damages – and cases
 8 where Defendants are withholding evidence are precisely the kinds of cases where
 9 statutory damages are most appropriate – it is worth noting that UL could alternately seek
10 three times Defendants’ profits ($900,000), plus attorney’s fees ($160,000), under 15
11 U.S.C. § 1117 (a) and (b). This combined figure ($1.06 million) should represent the
12 minimum damages in this case, since this is based only on the numbers Defendants have
13 allowed UL to see, and does not account for the documents Defendants have withheld.
14            Another dollar “figure” available to the parties is the value of the UL Marks
15 themselves. Though it is impossible to place a specific dollar figure on the UL Marks,
16 they are clearly far more valuable than even the maximum statutory damages in this case.
17 UL’s business is primarily based upon UL’s certification marks. Unlike other companies,
18 where marks may appear on a product, the UL marks are its product. As one of the oldest
19 certification companies in the United States, UL has a global reputation for expertise and
20 has become a symbol of trust and objectivity. Consumers trust the UL marks – that is
21 why Defendants counterfeited them so persistently. With widespread public recognition
22 of the safety risks presented by hoverboards, Defendants knew that consumers would rely
23 on the UL marks in making a purchasing decision. Consumers dissatisfied with Space
24 Chariot hoverboards because of quality and safety do not know they have been deceived.
25 Accordingly, they are likely to associate this dissatisfaction with the UL Certification
26 Mark and lose trust in UL’s services. The potential damage to UL’s brand is easily orders
27 of magnitude beyond the Defendant’s profits, yet Defendants did not care what their
28 counterfeiting could do to the UL brand. The high value of the famous UL marks, and the

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 1 potential damage caused by Defendants, weighs in favor of a higher statutory damages
 2 award.
 3            The final dollar figure available to the parties is the amount of attorneys’ fees that
 4 UL has had to expend on this litigation, including fees which UL has incurred due to
 5 Defendants’ obstructive discovery behavior. To date, UL has expended at least $160,000
 6 in attorneys’ fees – the majority of which have been incurred in negotiating with
 7 Defendants’ three separate sets of counsel, seeking third-party discovery when
 8 Defendants failed to produce requested documents, and arranging and paying for e-
 9 discovery procedures that Defendants themselves claimed they could not carry out due to
10 a purported lack of funds. (Nelson Decl., at ¶ 41.)
11                     2)   Defendants Violated Court Orders and Obstructed Discovery.
12            The second factor for the Court to consider in fixing the amount of statutory
13 damages is the Defendants’ culpability. In this case the Defendants have illustrated
14 “maximum willfulness.” Merely using the UL mark knowing that they never sought
15 permission to do so would ordinarily qualify for a finding of willfulness. AARP v. Sycle,
16 991 F. Supp. 2d 224, 230 (D.D.C. 2013). But Defendants’ behavior goes far beyond that.
17 They were explicitly told – by UL, and by their own supplier – that their goods were not
18 UL-certified, but Defendants kept advertising their hoverboard as UL-certified again,
19 again, and again. That Defendants kept advertising their goods as UL-certified even after
20 refusing their supplier’s late-2016 offer of hoverboards that were UL-certified simply
21 underscores Defendants’ brazen disregard for the law.
22            Defendants also demonstrated a brazen disregard for public safety. Rather than
23 take the risk of fire and bodily injury seriously, Defendants took advantage of consumers
24 by actively misleading the public that their products were “certified safe.” After the
25 CPSC told Defendants that their products should comply with safety standards,
26 Defendants’ supplier explicitly confirmed that the products were still being tested. (SUF
27 29-30; Ex. 24.) Defendants knew that their hoverboards had not been certified to any
28 safety standard, and even with the CPSC conducting an investigation Defendants still

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 1 kept telling the public that their products were “certified” and “safe.” (See SUF 32-33.) In
 2 short, as long as the profits were rolling in, Defendants eagerly gambled with their
 3 customers’ safety.
 4            Incredibly, Defendants have “doubled down” since this lawsuit was filed. They
 5 violated        the TRO by creating other domain names, <truehoverboard.com>,
 6 <spacechariotca.com>, and <perfecthoverboards.com>, and continuing to do business
 7 under those domain names (likely still selling un-certified hoverboards as UL-certified,
 8 but since Defendants have produced no records relating to these domains, the actual
 9 scope of sales is impossible to verify). (See, e.g., SUF 42-48 & Exs. 12-13, 34-44.) The
10 Space Chariot Facebook page directed consumers to buy “Space Chariot Hoverboards”
11 on the <truehoverboard.com> website, and the <spacechariot.com> domain automatically
12 directed consumers to <perfecthoverboard.com>. These other sites looked identical to
13 Space Chariot’s website, sold identical hoverboard models, and shared the same contact
14 information, phone numbers and addresses as Space Chariot. Defendants claimed they
15 had no connection to these websites or hoverboard sales and had no contact information
16 for these websites, despite the obvious connections to Space Chariot. (SUF 49-51.)
17            But Defendants were brazenly lying. While claiming that they knew nothing about
18 these other domains, Defendants sold at least one of these domains in violation of the
19 asset freeze order Defendants stipulated to. (SUF 49-55 & Exs. 12-13, 34-44.) Thus,
20 Defendants violated the stipulated order less than a week after it was entered. Defendant
21 Mortel even created an entirely new domain name, <creativegeniusess.com>, to assist
22 with Defendants’ hiding of evidence. (SUF 55; Ex. 44) Defendants used a new email
23 address at <theecreativegeniuses.com> to conduct the sale of their assets. (SUF 55; Ex.
24 47.) Defendants even lied to the purchaser of those assets, using the alias “Creative
25 Geniuses Inc.,” when no such corporation exists. (Wesel Decl. at ¶ 13.)
26            Defendants also obstructed discovery by failing to produce documents. Defendants
27 agreed to produce bank records, a revision history of their website, and to identify the
28 nature of their relationship with the <truehoverboard.com>, <perfecthoverboards.com>,

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 1 and <spacechariotca.com> domains. Defendants did not provide this information, and
 2 even affirmatively misstated their relationship with at least one of these domains. (See,
 3 e.g., SUF 49-55; see also Nelson Decl., ¶¶ 37-39 & Exs. 12-13, 34-44, 47.) UL
 4 eventually had to pay for an eDiscovery vendor to obtain emails from Defendants’ email
 5 accounts – only to find out that Defendants had created an entirely new email account for
 6 circumventing the Court’s orders. (Nelson Decl., ¶ 41, Ex. 47, Ex. 15 (Walker Dep., at
 7 21:5-22).) In sum, Defendants “doubled down” on what was already a case of “maximum
 8 willfulness” by repeatedly violating court Orders, – including to which they stipulated.
 9                     3)   The Need for Deterrence is Immense.
10            Finally, the Court should consider deterrence in fixing the amount of statutory
11 damages – specific deterrence to the Defendants and general deterrence to others. Courts
12 have recognized that 15 U.S.C. § 1117 is intended to punish those who sell counterfeit
13 goods. See, e.g., Louis Vuitton S.A., et al. v. Spencer Handbags Corp., 765 F. 2d 966, 970
14 (2nd Cir. 1985). Regardless of the level of willfulness, the penalty must be sufficient to
15 deter manufacturers and distributors from advertising their products as being certified by
16 UL when they in fact are not. Here, the need for both specific and general deterrence is
17 particularly strong.
18            While dissipating assets in violation of the stipulated asset freeze order,
19 Defendants “doubled down” on social media. For example, although repeatedly claiming
20 to have no assets, just a few weeks ago Walker was posing with his Porsche Panamera on
21 Instagram, referring to himself as “#selfmade”:
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 1
 2 (SUF 58; Ex. 46.)
 3            By way of further example, over the holidays – presumably with the money
 4 obtained from selling Defendants’ assets in violation of this Court’s asset freeze Order,
 5 Walker and Mortel spent their time at Big Bear Mountain:
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15 (SUF 58; Ex. 46.)
16            And back in August – right around the time Walker was complaining to his
17 supplier that he was being charged too much for non-certified hoverboards, Walker was
18 posing on Instagram with several $10,000 stacks of hundred-dollar bills, referring to
19 himself as a millionaire and again as “#selfmade.” There are at least eight $10,000 stacks
20 clearly visible in this picture:
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 1
 2 (SUF 58; Ex.48.)
 3            The money pictured above is the ill-gotten profits that Defendants obtained from
 4 their illegal use of the UL Marks. Yet Defendants continue to claim that they have no
 5 assets. Because Defendants clearly have no remorse for their wrongdoing, and no sense
 6 of accountability for their counterfeiting, the need for specific deterrence here is
 7 particularly high.
 8            General deterrence also suggests a high statutory damages award. During the 2015
 9 holiday season, in response to media coverage of flaming hoverboards, manufacturers of
10 hoverboards applied counterfeit UL marks to their hoverboards with astonishing speed.
11 UL has dedicated significant resources this year to addressing this problem. For example,
12 UL filed suit against the country’s largest importer of hoverboards, Swagway, in January
13 of 2015 which resulted in a settlement. UL, LLC v. Swagway, LLC, Case No. 3:16-cv-
14 00075 (N.D. Ind. Feb. 17, 2016). But UL cannot file suit against every importer of
15 counterfeit hoverboards (or other counterfeit goods) – especially those that simply import
16 a few hundred counterfeit items and then disappear. If counterfeiters face only a
17 moderate risk of getting caught, and then are only required to disgorge their profits
18 (which they of course will never disclose), then they will not be deterred. It is essential
19 that counterfeiters pay substantially more than their profits, to account for the fact that
20 other counterfeiters may not get caught at all. Only then are potential counterfeiters
21 deterred from future infringement.
22            The amount UL seeks here – $2 million – is carefully calibrated to the facts of the
23 case. UL believes that Defendants’ $450,000 in sales underreports Defendant’s actual
24 sales (particularly in light of Walker’s own statement that his sales exceeded $2,000,000
25 (see SUF 56; Ex. 48), but Defendants’ profits on that $450,000 in sales should be about
26 $250,000 to $300,000. Trebling that number, and adding attorney’s fees, results in $1.06
27 million. That number needs to be further enhanced to account for Defendants’ failure to
28 produce documents, Defendants’ underreporting of sales, Defendants’ willfulness,

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 1 Defendants’ discovery behavior, and Defendants’ apparent lack of remorse, as reflected
 2 in their social media behavior and their violation of the Court’s orders. A $2 million
 3 statutory damages award properly accounts for these factors, while still falling far short
 4 of the maximum $6 million in statutory damages that the Court could award.
 5            D.       The Undisputed Facts Justify an Award of Attorneys’ Fees.
 6            Defendants’ willful infringement of UL’s marks, obstruction in discovery, and
 7 blatant disregard for Orders of this Court make this case an exceptional one under 15
 8 U.S.C. § 1117 (a). Though there is an ongoing spit of authority as to whether fees are part
 9 of statutory damages, the better reasoned cases suggest such fees should be awarded
10 alongside and in addition to statutory damages. See Louis Vuitton Malletier S.A. v. LY
11 USA, Inc., et al 676 F. 3d 83, 111 (2d Cir. 2012) (recognizing split; affirming district
12 court award of attorneys’ fees in addition to statutory damages).
13                                       IV.   CONCLUSION
14            For all these reasons, the Court should (1) grant partial summary judgment in favor
15 of UL on the issues of liability for UL’s claim of willful trademark infringement and
16 counterfeiting under the United States Trademark Act, 15 U.S.C. § 1051 et seq., (2)
17 award $2 million in statutory damages, and (3) award UL its costs and attorneys’ fees.
18
19 Dated: February 22, 2017                         Respectfully submitted,
20                                                  GREENBERG TRAURIG, LLP
21                                                  /s/ Matthew R. Gershman
                                                    Attorneys for Plaintiff UL LLC
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